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 5
                                  UNITED STATES DISTRICT COURT
 6
                                            DISTRICT OF NEVADA
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 8
      Whitney B. Spencer, et al.,                            Case No. 2:20-cv-01304-BNW
 9
                              Plaintiffs,
10                                                           ORDER
            v.
11
      Social Security Administration,
12
                              Defendant.
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15          Plaintiffs submitted initiating documents to this Court on July 15, 2020. (ECF No. 1.)
16   Plaintiffs did not pay the filing fee for this case or file an application to proceed in forma
17   pauperis.
18          If Plaintiffs are unable to pay the filing fee in this case, Plaintiffs must complete an
19   application to proceed in forma pauperis under 28 U.S.C. § 1915(a)(1) and Local Special Rule
20   (“LSR”) 1-1. The court will retain Plaintiffs’ complaint (ECF No. 1-1), but will not file it until
21   the matter of the payment of the filing fee is resolved.
22          IT IS THEREFORE ORDERED that the Clerk of the Court must send Plaintiff the
23   approved form application to proceed in forma pauperis, as well as the document titled
24   “Information and Instructions for Filing an In Forma Pauperis Application.”
25          IT IS FURTHER ORDERED that by August 17, 2020, Plaintiff must either: (1) file a
26   complete application to proceed in forma pauperis in compliance with 28 U.S.C. § 1915(a)(1) and
27   LRS 1-1; or (2) pay the full $400 fee for a civil action, which includes the $350 filing fee and the
28
        Case 2:20-cv-01304-BNW Document 4 Filed 07/17/20 Page 2 of 2




 1   $50 administrative fee. Plaintiff is advised that failure to comply with this order will result in a

 2   recommendation that his case be dismissed.

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 4          DATED: July 16, 2020

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                                                            BRENDA WEKSLER
 7                                                          UNITED STATES MAGISTRATE JUDGE
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